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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


Philip Angus,                                Case No. 4:22-cv-11385
                        Plaintiff,
              v.
Flagstar Bank FSB,
                  Defendant.
______________________________________

Scott Temple, et al.,                        Case No. 4:22-cv-11395
                      Plaintiffs,
              v.
Flagstar Bank, FSB, et al.,
                      Defendants.
______________________________________

Dana Robbins, et al.,                        Case No. 4:22-cv-11423
                      Plaintiffs,
              v.
Flagstar Bankcorp., Inc., et al.,
                      Defendants.
______________________________________

Mark Wiedder,                                Case No. 4:22-cv-11446
                        Plaintiff,
              v.
Flagstar Bank, FSB,
                  Defendant.
______________________________________

John Scott Smith,                            Case No. 4:22-cv-11465
                        Plaintiff,
              v.
Flagstar Bancorp, Inc, et al.,
                      Defendants.
______________________________________

Allie McLaughlin,                            Case No. 4:22-cv-11470
                        Plaintiff,
              v.
Flagstar Bancorp, Inc., et al.,
                      Defendants.

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Danny Roll,                                 Case No. 4:22-cv-11502
                          Plaintiff,
              v.
Flagstar Bancorp Inc,
                  Defendant.
______________________________________

Michael McCarthy,                           Case No. 4:22-cv-11536
                          Plaintiff,
              v.
Flagstar Bank, FSB,
                  Defendant.
______________________________________

Everett Turner,                             Case No. 4:22-cv-11539
                          Plaintiff,
              v.
Flagstar Bank, FSB,
                  Defendant.
______________________________________

Christopher McKenney,                       Case No. 4:22-cv-11541
                    Plaintiff,
              v.
Flagstar Bank, FSB,
                    Defendant.
______________________________________

Michael Perkaj,                             Case No. 4:22-cv-11569
                      Plaintiff,
              v.
Flagstar Bancorp, Inc, et al.,
                      Defendants.
______________________________________

Paulette Kincaide,                          Case No. 4:22-cv-11583
                          Plaintiff,
              v.
Flagstar Bank, FSB,
                  Defendant.
______________________________________

Alexis Cousino, et al.,                     Case No. 4:22-cv-11619
                          Plaintiffs,
               v.

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Flagstar Bank, FSB,
                  Defendant.
______________________________________

Thomas Pike, et al.,                     Case No. 4:22-cv-11642
                       Plaintiffs,
                 v.
Flagstar Bank,
                  Defendant.
______________________________________

Nathan Silva,                            Case No. 4:22-cv-11729
                       Plaintiff,
              v.
Flagstar Bank, FSB,
                  Defendant.
______________________________________

Rafael Hernandez,                        Case No. 4:22-cv-11887
                      Plaintiff,
              v.
Flagstar Bancorp, Inc., et al.,
                      Defendants.
______________________________________

Scott Myers,                             Case No. 4:22-cv-12180
                       Plaintiff,
              v.
Flagstar Bank FSB,
                  Defendant.
______________________________________

Chris Key,                               Case No. 4:22-cv-12689
                       Plaintiff,
              v.
Flagstar Bank FSB,
                  Defendant.
______________________________________

Valeriano Saucedo,
                       Plaintiff,        Case No. 4:22-cv-12711
              v.
Flagstar Bank FSB,
                       Defendant.




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                                 Order Consolidating Cases and
             Setting Briefing Schedule for Motions to Appoint Interim Lead Counsel

       From June 22, 2022 through November 9, 2022, nineteen (19) cases (the “Related Cases”)

were filed in or transferred to this District, each of which brings claims arising from an alleged

data security incident that occurred in or around December 2021 and that Flagstar Bank announced

in or around June 2022.

       Plaintiffs and Defendants in each of the Related Cases stipulate that the Related Cases

should be consolidated and that the Court should consider motions to appoint interim lead counsel

before a consolidated amended complaint is filed. See Fed. R. Civ. P. 23(g)(3).

       ACCORDINGLY, IT IS ORDERED as follows:

       (1)       Civil Case Nos. 4:22-cv-11395, 4:22-cv-11423, 4:22-cv-11446, 4:22-cv-11465,

4:22-cv-11470, 4:22-cv-11502, 4:22-cv-11536, 4:22-cv-11539, 4:22-cv-11541, 4:22-cv-11569,

4:22-cv-11583, 4:22-cv-11619, 4:22-cv-11642, 4:22-cv-11729, 4:22-cv-11887, 4:22-cv-12180,

4:22-cv-12689, 4:22-cv-12711 are CONSOLIDATED with Civil Case No. 4:22-cv-11385.

       (2)       All future filings shall be made in the docket of the first-filed action, 4:22-cv-11385,

under the caption “In re Flagstar December 2021 Data Security Incident Litigation” (referred to

hereinafter as the “Consolidated Action”).

       (3)       No further filings shall be made in the other Related Cases, which shall be

administratively closed. All pleadings therein maintain their legal relevance until the filing of a

consolidated amended complaint in the Consolidated Action.

       (4)       Any party seeking to file a motion to appoint interim lead counsel shall file such

motion, not to exceed twenty (20) pages, within fourteen (14) days of this Order or by January 9,

2023, whichever is the later. Counsel may include a short resume for each party to the proposed

leadership as exhibits. Any party seeking to file a response to any such motion shall first file a

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motion requesting leave from the Court to file such response, explaining why such response is

necessary. Only after the granting of leave may the response be filed.

          (5)   Within thirty (30) days of the Court entering an Order appointing interim lead

counsel, interim lead counsel shall file a consolidated amended complaint in the Consolidated

Action.

          (6)   Within sixty (60) days from the date on which interim lead counsel file the

consolidated amended complaint, Defendants shall file their response to the consolidated amended

complaint.



          SO ORDERED.

                                                     s/Shalina D. Kumar
                                                     Hon. Shalina D. Kumar
Dated: December 19, 2022                             United States District Judge




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